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            IN THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
     Plaintiff,                           )
                                          )
     v.                                   )      No. 22-cr-30081
                                          )
EDDIE D. SIMS,                            )
                                          )
     Defendant.                           )

                         OPINION AND ORDER

SUE E. MYERSCOUGH, U.S. District Judge.

     Before the Court is Defendant Eddie D. Sims’s Motion to

Dismiss Indictment. See Def.’s Mot. Dism., d/e 32. Also before the

Court is Mr. Sims’s Motion to Set Case for a Joint Change of Plea

and Sentencing Hearing and for the Preparation of a Pre-Plea

Presentence Report, d/e 33, which Mr. Sims filed concurrently with

his motion to dismiss.

     In his motion to dismiss, Mr. Sims argues that, under the

“historical tradition” test set forth in N.Y. State Rifle & Pistol Ass’n

v. Bruen, 142 S. Ct. 2111 (2022), the statutes underlying his two-

count Indictment are unconstitutional on their face and as applied

to him. Def.’s Mot. Dism., d/e 32, at 5 (citing Atkinson v. Garland,


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70 F.4th 1018 (7th Cir. 2023) (vacating pre-Bruen decision finding

felon-in-possession prohibition constitutional and remanding for

historical analysis required by Bruen)). According to Mr. Sims, both

Bruen and the Seventh Circuit’s recent decision in Atkinson compel

a “a proper, fulsome analysis of the historical tradition supporting”

the statutes at issue here. Atkinson, 70 F.4th at 1022.

     Mr. Sims is correct. Under Atkinson, this Court is obligated to

analyze every constitutional challenge to a firearms restriction—

criminal, civil, administrative, or otherwise—through the framework

set out in Bruen. Id. (“Nothing allows [courts] to sidestep Bruen in

the way the government invites.”). In other words, this Court “must

undertake the text-and-history inquiry the [Bruen] Court so plainly

announced and expounded upon at great length.” Id. And that

inquiry, according to the Supreme Court, must proceed as follows:

          [W]hen the Second Amendment’s plain text
          covers an individual’s conduct, the Constitution
          presumptively protects that conduct.        The
          government must then justify its regulation by
          demonstrating that it is consistent with the
          Nation’s historical tradition of firearm
          regulation. Only then may a court conclude
          that the individual’s conduct falls outside the
          Second Amendment’s “unqualified command.”



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Bruen, 142 S. Ct. at 2129–30. Accordingly, the Government shall

file its response brief by no later than noon on August 15, 2023.

Mr. Sims may file a reply brief, if appropriate, by no later than noon

on September 12, 2023.

     For further guidance, the Court directs the parties’ attention

to Atkinson, in which the Seventh Circuit proposed a set of

“interrelated and non-exhaustive questions [that] may help focus

the proper analysis.” Atkinson, 70 F.4th at 1023. The parties’

briefing should address these questions, including:

          1. [Do] § 922(g)(1) [and § 922(d)] address a
          “general societal problem that has persisted
          since the 18th century?” Bruen, 142 S. Ct. at
          2131. If this problem existed during a relevant
          historical period, did earlier generations
          address it with similar or “materially different
          means?” Id.

          2. What does history tell us about disarming
          those convicted of crimes generally and of
          felonies in particular? Among other sources,
          the parties could look to commentary from the
          Founders, proposals emerging from the states’
          constitutional ratifying conventions, any actual
          practices of disarming felons or criminals more
          generally around the time of the Founding, and
          treatment of felons outside of the gun context
          (to the extent this treatment is probative of the


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  Founders’ views of the Second Amendment).
  When considering historical regulations and
  practices, the key question is whether those
  regulations and practices are comparable in
  substance to the restriction[s] imposed by §
  922(g)(1) [and § 922(d)].       To answer the
  question, . . . the parties should consider how
  the breadth, severity, and the underlying
  rationale of the historical examples stack up
  against § 922(g)(1) [and § 922(d)].

  3. Are there broader historical analogues to §
  922(g)(1) [and § 922(d)] during the periods that
  Bruen emphasized, including, but not limited
  to, laws disarming “dangerous” groups other
  than felons? The parties should not stop at
  compiling lists of historical firearms regulations
  and practices. The proper inquiry, as we have
  explained, should focus on how the substance
  of the historical examples compares to §
  922(g)(1) [and § 922(d)].

  4. If the [parties’] historical inquiry identifies
  analogous laws, do those laws supply enough of
  a historical tradition (as opposed to isolated
  instances of regulation) to support § 922(g)(1)
  [and § 922(d)]? On this front, the parties should
  provide details about the enforcement, impact,
  or judicial scrutiny of these laws, to the extent
  possible.

  5. If history supports [Mr. Sims’s] call for
  individualized assessments or for a distinction
  between violent and non-violent felonies, how


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           do we define a non-violent or a non-dangerous
           felony? And what evidence can a court consider
           in assessing whether a particular felony
           conviction was violent? For instance, can a
           court consider the felony conviction itself, the
           facts of the underlying crime, or sentencing
           enhancements?       Bruen shows that these
           distinctions should also have firm historical
           support. See 142 S. Ct. at 2132–33 (explaining
           that the court must assess whether modern and
           historical regulations are “relevantly similar,”
           including in terms of how and why the
           regulations burden gun rights).

Atkinson, 70 F.4th at 1023–24.

     The parties should freely “cast a wider net and provide more

detail about whatever history they rely on.”1 Id. at 1024. They also


1 On this point, the dissenting opinion in Atkinson is particularly

instructive:

     The assessment of any gun regulation should begin
     with a look at the type of measure under
     consideration: to use Professor Volokh's taxonomy, is
     it a “what, who, where, how, or when” regulation?
     Once we know that, we can begin the task of
     identifying the proper historical analogues. For
     example, felon disarmament is a “who” restriction.
     That directs us to historical restrictions on the
     classes of persons who were allowed to own or
     possess guns. In addition, one needs to look at the
     regulatory method the statute embodies: total
     disarmament for life; disarmament for a term of
     years; qualified rights to have the weapon with proper

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should freely employ the expert services of historians and

historiographers. See Jacob D. Charles, The Dead Hand of a Silent

Past, 73 Duke L.J. (forthcoming 2023) (manuscript at 69–70) (on file

with author) (arguing that expert historians “can help inform a

judge about how complicated and contested the historical

landscape can be”); see also United States v. Bullock, No. 18-cr-

165, 2023 WL 4232309, at *15 (S.D. Miss. June 28, 2023) (“The

most disappointing failure is that the party with the burden to

prove history and tradition—the United States—did not designate a

historian to testify on the analogues, if any, to modern felon-in-

possession laws.”). In a similar vein, this Court will invite and

“accept amicus briefs to assist with its inquiry.” Atkinson, 70 F.4th

at 1024.




     sureties; restrictions on particularly sensitive places
     (courthouses, churches, schools) or times or manner
     (open-carry, concealed-carry). Throughout all of this,
     one must also bear in mind that Bruen does not
     demand historical “dead ringers.” It is enough to
     identify a problem with private gun ownership and
     find the relevantly similar type of solution that was
     thought to be adequate by our forebears.

Atkinson, 70 F.4th at 1034–35 (Wood, J., dissenting).

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     As for Mr. Sims’s motion to set a combined change of plea and

sentencing hearing, see Def.’s Mot., d/e 33, that motion is

GRANTED. A joint change of plea and sentencing hearing is hereby

SET for November 16, 2023, at 10:00 a.m. in Courtroom II in

Springfield before U.S. District Judge Sue E. Myerscough. The

initial pretrial conference currently set for July 20, 2023, at 9:00

a.m. is RESET to November 20, 2023, at 9:00 a.m. in Courtroom III

in Springfield before U.S. Magistrate Judge Karen L. McNaught.

And the jury trial currently set for August 1, 2023, at 9:00 a.m. is

RESET to December 5, 2023, at 9:00 a.m. in Courtroom II in

Springfield before Judge Myerscough. The Court finds that

granting the motion to continue is in the interests of justice and

outweighs Mr. Sims’s and the public's interest in a speedy trial. 18

U.S.C. § 3161(h)(7)(A). Lastly, the U.S. Probation Office is

DIRECTED to prepare a pre-plea investigation report.

IT IS SO ORDERED.

ENTERED: JULY 11, 2023

FOR THE COURT:
                           s/ Sue E. Myerscough
                           SUE E. MYERSCOUGH
                           UNITED STATES DISTRICT JUDGE


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